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                                   Attachment C

[11/3/2018 7:03 AM] -
--------------------Starting Batched Jobs--------------------
[11/3/2018 7:03 AM] -
         Processing Manager Version: 10.17.2.11
         Starting Job: 9eb0ba96df87439a9d908ad9ee05a9cb
         Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
         Processing manager: DESKTOP-OHLI9BC
         CaseID: 2
         CasePath: Q:\Redacted_FTK
         JobType: AddEvidence
         DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
         FTK Username: CF
         Evidence path: S:\US v Redacted\All Evidence Files\xXI1\xXI1_1.E01
         Evidence type: DiskImage
         Evidence codepage: 1252

[11/3/2018 7:03 AM] - Case 2 has changed to CaseProcessing
[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 04d134aafa0b4398b574bcc3c7221a73
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI1B131\xXI1B131.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: e9d3206f06b24d72a145cccd18089742
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 2 of 11



      CaseID: 2
      CasePath: Q:\Redacted_FTK
      JobType: AddEvidence
      DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
      FTK Username: CF
      Evidence path: S:\US v Redacted\All Evidence Files\xXI1B4_1\xXI1B4_1.E01
      Evidence type: DiskImage
      Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 722e8abc57284d8998459ded75f3c555
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI1_2\xXI1_2.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: de30620c99b24e0a8aef3197dedadcc8
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI1_3\xXI1_3.E01
       Evidence type: DiskImage
       Evidence codepage: 1252
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 3 of 11



[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 31879c396f5546f3a7f0e196c3cc7ae3
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence
Files\xXI2\EMMC_ROM1_H8G1e_1315221071_00000000_1D2000000.bin
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 3b46fb8745d74b33bf2b289c88466dd7
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI2_1\xXI2_1.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 1824f1160910457dbb2bd01f4705fc1e
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 4 of 11



      DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
      FTK Username: CF
      Evidence path: S:\US v Redacted\All Evidence Files\xXI3\xXI3.E01
      Evidence type: DiskImage
      Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 993698905e8c42bf90f7c7dad39f88ac
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI4_1\xXI4_1.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 395e337cdb6a4a3ca1df42de8f951107
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI5_1\xXI5_1.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: b53d5a3dea9b4bf09afa2936c68379c7
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 5 of 11



      Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
      Processing manager: DESKTOP-OHLI9BC
      CaseID: 2
      CasePath: Q:\Redacted_FTK
      JobType: AddEvidence
      DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
      FTK Username: CF
      Evidence path: S:\US v Redacted\All Evidence Files\xXI6_1\xXI6_1.E01
      Evidence type: DiskImage
      Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: b9f6fbfab7ee47b786c8b276f43834b1
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI6_2\xXI6_2.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 33dc84a9ddc84cbaa4bd8d014bcc4abe
       Started by DESKTOP-OHLI9BC\Beast on DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI6_3\xXI6_3.E01
       Evidence type: DiskImage
       Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 6 of 11



       Evidence codepage: 1252

[11/3/2018 7:03 AM] -
       Processing Manager Version: 10.17.2.11
       Starting Job: 5b3040d73f624a4e882dc031081514d6
       Started by DESKTOP-OHLI9BC
       Processing manager: DESKTOP-OHLI9BC
       CaseID: 2
       CasePath: Q:\Redacted_FTK
       JobType: AddEvidence
       DB System Postgres, Username ADG6x3, Host DESKTOP-OHLI9BC, Port 5432, SID
ADG, IntSec False
       FTK Username: CF
       Evidence path: S:\US v Redacted\All Evidence Files\xXI7_1\xXI7_1.E01
       Evidence type: DiskImage
       Evidence codepage: 1252

[11/3/2018 7:03 AM] - Using engine localhost
[11/3/2018 7:03 AM] - Database preparation started
[11/3/2018 7:03 AM] - Database preparation finished
[11/3/2018 7:03 AM] - Processing started
[11/3/2018 7:03 AM] - Processing started (1 of 14)
[11/3/2018 7:03 AM] - Processing started (2 of 14)
[11/3/2018 7:03 AM] - Indexing started
[11/3/2018 7:34 AM] - Processing finished
[11/3/2018 7:34 AM] - Processing finished (1 of 14)
[11/3/2018 7:34 AM] - Processing started (3 of 14)
[11/3/2018 7:39 AM] - Indexing finished
[11/3/2018 7:42 AM] - Processing finished (2 of 14)
[11/3/2018 7:42 AM] - Processing started (4 of 14)
[11/3/2018 9:33 AM] - Processing finished (3 of 14)
[11/3/2018 9:33 AM] - Processing started (5 of 14)
[11/3/2018 10:11 AM] - Processing finished (4 of 14)
[11/3/2018 10:11 AM] - Processing started (6 of 14)
[11/3/2018 11:24 AM] - Processing finished (5 of 14)
[11/3/2018 11:24 AM] - Processing started (7 of 14)
[11/3/2018 11:25 AM] - Processing finished (6 of 14)
[11/3/2018 11:26 AM] - Processing started (8 of 14)
[11/3/2018 12:48 PM] - Processing finished (7 of 14)
[11/3/2018 12:48 PM] - Processing started (9 of 14)
       Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 7 of 11



[11/3/2018 1:39 PM] - Processing finished (8 of 14)
[11/3/2018 1:39 PM] - Processing started (10 of 14)
[11/3/2018 4:45 PM] - Processing finished (9 of 14)
[11/3/2018 4:45 PM] - Processing started (11 of 14)
[11/3/2018 8:15 PM] - Processing finished (10 of 14)
[11/3/2018 8:15 PM] - Processing started (12 of 14)
[11/3/2018 9:51 PM] - Processing finished (11 of 14)
[11/3/2018 9:51 PM] - Processing started (13 of 14)
[11/3/2018 10:26 PM] - Processing finished (12 of 14)
[11/3/2018 10:27 PM] - Processing started (14 of 14)
[11/3/2018 11:29 PM] - Processing finished (13 of 14)
[11/4/2018 7:05 AM] - Processing finished (14 of 14)
[11/4/2018 7:05 AM] - Case 2 has changed to CasePostProcessing
[11/4/2018 7:05 AM] - Database optimization started
[11/4/2018 7:51 AM] - Database optimization finished

[11/4/2018 7:51 AM] - Job finished
[11/4/2018 7:51 AM] - Please see JobInformation.log in the job folder for additional messages.
[11/4/2018 7:51 AM] -
9eb0ba96df87439a9d908ad9ee05a9cb - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 3547549
Processed: 3547549
Indexed: 3547549
Job time:     1 days + 00:48:30 = 11/3/2018 7:03:24 AM to 11/4/2018 7:51:55 AM
Processing: 02:40:44 = 11/3/2018 7:03:30 AM to 11/3/2018 9:44:14 AM
Postprocessing: 00:45:23 = 11/4/2018 7:05:59 AM to 11/4/2018 7:51:22 AM
Indexing time: 02:40:31 = 11/3/2018 7:03:43 AM to 11/3/2018 9:44:14 AM

[11/4/2018 7:52 AM] -
04d134aafa0b4398b574bcc3c7221a73 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 2119627
Processed: 2119627
Indexed: 2119627
Job time:     1 days + 00:48:38 = 11/3/2018 7:03:26 AM to 11/4/2018 7:52:04 AM
Processing: 00:36:09 = 11/3/2018 7:03:30 AM to 11/3/2018 7:39:39 AM
Postprocessing: 00:45:56 = 11/4/2018 7:05:59 AM to 11/4/2018 7:51:56 AM
Indexing time: 00:35:59 = 11/3/2018 7:03:40 AM to 11/3/2018 7:39:39 AM
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 8 of 11



[11/4/2018 7:52 AM] -
e9d3206f06b24d72a145cccd18089742 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 7712
Processed: 7712
Indexed: 7712
Job time:     1 days + 00:17:14 = 11/3/2018 7:34:50 AM to 11/4/2018 7:52:05 AM
Processing: 00:08:48 = 11/3/2018 7:34:51 AM to 11/3/2018 7:43:39 AM
Postprocessing: 00:46:05 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:05 AM
Indexing time: 00:03:44 = 11/3/2018 7:39:54 AM to 11/3/2018 7:43:39 AM

[11/4/2018 7:52 AM] -
722e8abc57284d8998459ded75f3c555 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 376623
Processed: 376623
Indexed: 376623
Job time:     1 days + 00:09:58 = 11/3/2018 7:42:17 AM to 11/4/2018 7:52:15 AM
Processing: 05:13:27 = 11/3/2018 7:42:17 AM to 11/3/2018 12:55:45 PM
Postprocessing: 00:46:07 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:06 AM
Indexing time: 05:11:54 = 11/3/2018 7:43:50 AM to 11/3/2018 12:55:45 PM

[11/4/2018 7:52 AM] -
de30620c99b24e0a8aef3197dedadcc8 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 10903
Processed: 10903
Indexed: 10903
Job time:     22:18:53 = 11/3/2018 9:33:23 AM to 11/4/2018 7:52:16 AM
Processing: 00:38:30 = 11/3/2018 9:33:23 AM to 11/3/2018 10:11:53 AM
Postprocessing: 00:46:17 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:16 AM
Indexing time: 00:27:15 = 11/3/2018 9:44:32 AM to 11/3/2018 10:11:47 AM

[11/4/2018 7:52 AM] -
31879c396f5546f3a7f0e196c3cc7ae3 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 6568
Processed: 6568
Indexed: 6568
Job time:     21:40:40 = 11/3/2018 10:11:37 AM to 11/4/2018 7:52:18 AM
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 9 of 11



Processing: 01:17:02 = 11/3/2018 10:11:37 AM to 11/3/2018 11:28:39 AM
Postprocessing: 00:46:18 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:17 AM
Indexing time: 01:13:24 = 11/3/2018 10:15:15 AM to 11/3/2018 11:28:39 AM

[11/4/2018 7:52 AM] -
3b46fb8745d74b33bf2b289c88466dd7 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 587
Processed: 587
Indexed: 587
Job time:     20:27:50 = 11/3/2018 11:24:28 AM to 11/4/2018 7:52:19 AM
Processing: 00:05:31 = 11/3/2018 11:24:28 AM to 11/3/2018 11:30:00 AM
Postprocessing: 00:46:19 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:19 AM
Indexing time: 00:01:00 = 11/3/2018 11:28:53 AM to 11/3/2018 11:29:54 AM

[11/4/2018 7:52 AM] -
1824f1160910457dbb2bd01f4705fc1e - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 26095
Processed: 26095
Indexed: 26095
Job time:     20:26:15 = 11/3/2018 11:26:05 AM to 11/4/2018 7:52:20 AM
Processing: 02:32:14 = 11/3/2018 11:26:05 AM to 11/3/2018 1:58:20 PM
Postprocessing: 00:46:20 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:20 AM
Indexing time: 02:19:51 = 11/3/2018 11:38:28 AM to 11/3/2018 1:58:20 PM

[11/4/2018 7:52 AM] -
993698905e8c42bf90f7c7dad39f88ac - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 9664143
Processed: 9664143
Indexed: 9664143
Job time:     19:04:06 = 11/3/2018 12:48:36 PM to 11/4/2018 7:52:43 AM
Processing: 11:14:46 = 11/3/2018 12:48:37 PM to 11/4/2018 12:03:23 AM
Postprocessing: 00:46:22 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:21 AM
Indexing time: 11:07:24 = 11/3/2018 12:55:59 PM to 11/4/2018 12:03:23 AM

[11/4/2018 7:52 AM] -
395e337cdb6a4a3ca1df42de8f951107 - AddEvidence job finished with state Finished
Job had 0 failed items
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 10 of 11



Enumerated: 3564832
Processed: 3564832
Indexed: 3564832
Job time:    18:13:36 = 11/3/2018 1:39:20 PM to 11/4/2018 7:52:57 AM
Processing: 04:28:22 = 11/3/2018 1:39:20 PM to 11/3/2018 6:07:43 PM
Postprocessing: 00:46:44 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:44 AM
Indexing time: 04:09:12 = 11/3/2018 1:58:30 PM to 11/3/2018 6:07:43 PM

[11/4/2018 7:53 AM] -
b53d5a3dea9b4bf09afa2936c68379c7 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 3235768
Processed: 3235768
Indexed: 3235768
Job time:     15:07:40 = 11/3/2018 4:45:31 PM to 11/4/2018 7:53:12 AM
Processing: 03:43:29 = 11/3/2018 4:45:32 PM to 11/3/2018 8:29:01 PM
Postprocessing: 00:46:58 = 11/4/2018 7:05:59 AM to 11/4/2018 7:52:58 AM
Indexing time: 02:21:04 = 11/3/2018 6:07:57 PM to 11/3/2018 8:29:01 PM

[11/4/2018 7:53 AM] -
b9f6fbfab7ee47b786c8b276f43834b1 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 95959
Processed: 95959
Indexed: 95959
Job time:     11:37:26 = 11/3/2018 8:15:51 PM to 11/4/2018 7:53:18 AM
Processing: 01:59:31 = 11/3/2018 8:15:52 PM to 11/3/2018 10:15:23 PM
Postprocessing: 00:47:13 = 11/4/2018 7:05:59 AM to 11/4/2018 7:53:13 AM
Indexing time: 01:46:05 = 11/3/2018 8:29:18 PM to 11/3/2018 10:15:23 PM

[11/4/2018 7:53 AM] -
33dc84a9ddc84cbaa4bd8d014bcc4abe - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 7124
Processed: 7124
Indexed: 7124
Job time:     10:01:56 = 11/3/2018 9:51:23 PM to 11/4/2018 7:53:19 AM
Processing: 00:39:16 = 11/3/2018 9:51:23 PM to 11/3/2018 10:30:40 PM
Postprocessing: 00:47:19 = 11/4/2018 7:05:59 AM to 11/4/2018 7:53:19 AM
Indexing time: 00:15:03 = 11/3/2018 10:15:37 PM to 11/3/2018 10:30:40 PM
      Case 1:17-cr-00069-RDB Document 179-5 Filed 12/13/18 Page 11 of 11




[11/4/2018 7:53 AM] -
5b3040d73f624a4e882dc031081514d6 - AddEvidence job finished with state Finished
Job had 0 failed items
Enumerated: 5174651
Processed: 5174651
Indexed: 5174651
Job time:     09:26:32 = 11/3/2018 10:27:11 PM to 11/4/2018 7:53:44 AM
Processing: 08:38:47 = 11/3/2018 10:27:12 PM to 11/4/2018 7:05:59 AM
Postprocessing: 00:47:21 = 11/4/2018 7:05:59 AM to 11/4/2018 7:53:20 AM
Indexing time: 09:06:07 = 11/3/2018 10:30:52 PM to 11/4/2018 7:36:59 AM

[11/4/2018 7:53 AM] - Jobs in this batch: 14
Enumerated: 27838141
Processed: 27838141
Indexed: 27838141
Batch time: 1 days + 00:49:58 = 11/3/2018 7:03:22 AM to 11/4/2018 7:53:20 AM
Processing: 1 days + 00:02:29 = 11/3/2018 7:03:30 AM to 11/4/2018 7:05:59 AM
Postprocessing: 00:47:21 = 11/4/2018 7:05:59 AM to 11/4/2018 7:53:20 AM
Indexing time: 1 days + 00:33:19 = 11/3/2018 7:03:40 AM to 11/4/2018 7:36:59 AM
--------------------Finished Batched Jobs--------------------
[11/4/2018 7:53 AM] - Case 2 has changed to CaseCleared
[11/4/2018 7:53 AM] - Case 2 has changed to CaseProcessing
